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                                  No. 15-3679
                            ____________________

    UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT
                     ____________________

                    EDITH FARINA; EMILIO FARINA,
                                       Appellants

                                       v.

   THE BANK OF NEW YORK, as trustee for the CHL Mortgage Pass-
   Through Trust 2007-8; RESIDENTIAL CREDIT SOLUTIONS, INC.;
    MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC;
                          DOES 1-10, inclusive
                         ____________________

    Appeal from the Order of the United States District Court for New Jersey,
               D.N.J. 3-15-cv-03395, entered October 13, 2015
                           ____________________

                       BRIEF FOR AMICUS CURIAE
                          ____________________

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                                            By Appointment of the Court

Dated: September 29, 2020
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I.      Statement of Interest of Amicus Curiae
        Amicus presents this brief by appointment of the Court. Order of July 6,

2020.



II.     Statement of Independence of Amicus
        No one other than Amicus authored the brief in whole or in part; or

contributed money intended to fund preparation or submission of the brief.



III.    Statement of the Issues Presented for Review
        By Order of the Court, Amicus will address the following questions:

        1. Whether the District Court erred in applying Colorado River abstention;

see Ryan v. Johnson, 115 F.3d 193, 19[8] (3d Cir. 1997) (“there must be a strongly

articulated congressional policy against piecemeal litigation in the specific context

of the case under review”).

        Suggested Answer: Yes.

        2. Whether there is a congressional policy against piecemeal litigation in

foreclosure actions.

        Suggested Answer: No.



IV.     Summary of Argument
        Abstention is only appropriate under Colorado River Water Conservation

District v. United States, 424 U.S. 800 (1976), if the federal and State actions are

parallel. Here, the two cases appear to be parallel, as all of the issues raised by


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Plaintiffs appear to have been raised in the State court foreclosure proceeding, viz.,

the validity of the mortgage assignment, and fraud in the assignment and in the

making of the loan. Whether the foreclosure court properly addressed those issues

is beside the point; that is a matter that can be resolved, if necessary, by the New

Jersey courts, on appeal.

      If the actions are parallel, this Court then applies a multi-factor test to
determine whether to abstain. The paramount factor -- and very likely the

dispositive factor in most cases -- is whether there is a “strongly articulated

congressional policy against piecemeal litigation in the specific context of the case

under review.” Ryan, 115 F.3d at 198 (emphasis in original).

      Amicus has identified no federal policy that would counsel against

piecemeal litigation in foreclosure actions, per se. Two federal policies, however,

are worth examining, as they have been relied upon by several district courts and

are not without some appeal. In the final analysis, however, Amicus submits that

neither of these policies provides a strong justification for abstention.

      The Anti-Injunction Act is implicated here, because a declaratory judgment

in favor of Plaintiffs could effectively operate as an injunction directing the New

Jersey courts not to proceed with the foreclosure. The Act, however, either applies

on its face to preclude judgment (a question not presently before the Court), or it

does not. And, if it does not, it would grossly overstate Congressional policy to

read into an Act that does not preclude adjudication a policy that precludes

adjudication.




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      Federal removal policies also potentially present the necessary strong federal

policy to call for abstention. Plaintiffs here are defendants in the State court

foreclosure case, and they are precluded by 28 U.S.C. § 1441(b)(2), as home State

defendants, from removing that case to federal court. Arguably, that bar to

removal reflects a Congressional policy that defenses in State court actions, when

raised by home State defendants, must be heard in State court and cannot be raised
in federal court, either directly, via removal, or indirectly (as was done here), by

bringing a parallel federal action. Amicus submits, however, that the argument

“proves too much,” because the removal statutes can too easily be manipulated to

find a policy against hearing a parallel case in federal court, both in instances

where removal is barred and in instances where removal is allowed but was not

exercised. A policy that is so malleable and so broad that it can be found in the

removal statutes regardless whether the removal statutes prohibit or permit

removal cannot constitute the narrow and exceptional policy that can justify a

refusal to exercise Congressionally-mandated jurisdiction.

      The other Colorado River factors are not sufficiently significant here to

change the outcome. The “strong federal policy” question should be dispositive.



V.    Argument

      A.     The Cases Appear to Be Parallel.
      The threshold question that must be resolved before undertaking a Colorado

River analysis is whether the two actions are “parallel.” “[C]ases are parallel when
they involve the same parties and claims.” Kelly v. Maxum Specialty Ins. Grp.,

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868 F.3d 274, 285 (3d Cir. 2017) (quote marks and citations omitted). The cases

must be “truly duplicative, that is, . . . the parties and the claims [must be]

identical, or at least effectively the same.” Id. (quote marks and citations omitted).

Put differently, proceedings are parallel when they raise “substantially identical

claims and nearly identical allegations and issues.” Id. (brackets, quote marks and

citations omitted).
      The Court in Kelly cautioned, however, that “[c]ases are not parallel under

Colorado River abstention where the federal court case involves claims that are

distinct from those at issue in a state court case, like where parties in the two cases

employ[] substantially different approaches [which] might achieve potentially

different results. * * * [A]bstention is inappropriate where there is a lack of

identity of all issues between lawsuits and no theoretical obstacle to both actions

proceeding independently.” Id. (quote marks and internal citations omitted).

      Applying these principles to the instant case is not a simple task, as the

nature of the Farinas’ claims are not entirely clear; nor does the record here include

the complete State court record. Nonetheless, from the information available to us,

it appears very likely that the two cases at issue here are parallel.

      In their Appellants’ Brief, the Farinas explain that this case arises out of the

foreclosure action pending in New Jersey Superior Court and that the Farinas

challenge the standing of the bank in that action to foreclose. See, e.g., Plaintiffs’-

Appellants’ Opening Brief at 10 (a homeowner may “preemptively challenge a

bank or lender’s standing to bring a foreclosure action, as in the Instant case”).

More particularly, the Farinas appear to challenge the validity of the assignments


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that led to the Bank of New York’s claim of standing in the foreclosure action. See

id. (noting “the importance of ensuring that all appropriate assignments and

documents evidencing a proper chain of title are promptly recorded, an issue which

would have been raised in both courts had the Farina’s [sic] had an opportunity to

be heard”).

      The Farinas further acknowledge that the purpose of the instant suit is to
save their home from the foreclosure that is pending in State court. See id. at 12-

13 (foreclosure should be stayed to prevent loss of home). Indeed, they effectively

concede that they are seeking to challenge the State court’s decision to allow the

Bank to foreclose. See id. at 13 (State court loser who complains of fraud should

be allowed to have his claim heard in federal court).

      At oral argument below, the Farinas’ counsel was more specific, making

clear that fraud at various stages forms the basis for their contention that the Bank

lacks standing to foreclose: “fraud in the inducement; there's some undue

influence, that lead into some predatory practices; you’ve got fraud in the

servicing, there’s some questions with what [R]esidential has done; there’s the

questions of who the proper parties are. That issue has never been adjudicated.

The fraud permeates this whole thing.” Appellees’ Joint Appendix, A56 (Tr. at

11); see also id., A57 (Tr. at 12) (describing the fraud); id., A65 (Tr. at 20) (the

fraud could lead to a rescission of the loan).

      All of these arguments raised in the instant case were previously raised by

the Farinas in the foreclosure proceedings. This is clear from the selected State




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court pleadings in the record here.1 See, e.g., Answer to Complaint at 6, Second

Defense, Doc. 7-3 at 39, Page ID 95 (lack of standing; not authorized to enforce

the Mortgage); id. at 7, Seventh Defense, Doc. 7-3 at 40, Page ID 96 (fraudulent

inducement); id. at 8, Tenth Defense, Doc. 7-3 at 41, Page ID 97 (fraud);

Defendants’ Brief in Opp. to Summ. Judg. (counseled, in N.J. Superior Ct.), Doc.

7-3 at 164, Page ID 220 (challenging transfer of mortgage to Bank of New York as
invalid); Motion to Vacate Default Judgment (N.J. Superior Ct.), Doc. 14 at 17-18,

Page ID 390-91 (alleging improper or incomplete assignment; and fraud).

      Even if the Court chooses not to take notice of these documents, the Farinas’

counsel below acknowledged that fraud was part of the Farinas’ defense in the

foreclosure proceeding, see A54 (Tr. at 9); as was the Farinas’ challenge to the

validity of the assignment, see A64 (Tr. at 19) (New Jersey court looked to

whether the assignment of the mortgage to the bank was valid).

      It may well be, as the Farinas contend, that the foreclosure court did not give

these defenses the attention to which they were due, see, e.g., A55-A56 (Tr. at 10-

11) (“[i]n the state court proceeding, he was denied an opportunity to submit an

expert’s report”); Plaintiffs’-Appellants’ Opening Br. at 4 (denied discovery; no

adjudication on the merits), but that is of no moment. So long as the defenses were

1
 Defendants submitted some of the State court pleadings as Exhibits to the
Parlapiano Certification. See Dist. Ct. Docket, Document 7-2 (Certification); Dist.
Ct. Docket, Document 7-3 (Exhibits). The Farinas submitted a copy of their State
court Motion to Vacate Default Judgment, as an Exhibit to their Response to
Motion to Dismiss. See Dist. Ct. Docket, Document 14 (Response to Motion to
Dismiss); id. at 10, Page ID 383 (State court Motion to Vacate).


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presented to the foreclosure court, they were well within the scope of the

foreclosure case, regardless whether the trial judge handled them appropriately.

See, e.g., Delacruz v. Alfieri, 145 A.3d 695, 698, 707 (N.J. Super. 2015) (claims of

fraud in the making of the loan are cognizable in a foreclosure case).2

      In their federal action, Plaintiffs here appear to be asking the district court to

do what they unsuccessfully asked the New Jersey foreclosure court to do -- find
that the bank is not authorized to proceed with the foreclosure. Whether the reason

is denominated fraud, ineffective assignment of the mortgage, or lack of standing,

these issues all were raised to the State court, and Plaintiffs wish to relitigate them

here. This is the essence of parallel litigation. See generally Chambers v. Wells

Fargo Bank, N.A., Civ. Act. No. 15-6976 (JBS/JS), 2016 U.S. Dist. LEXIS 83580,

at *11 (D.N.J. June 28, 2016) (“Plaintiff's claims against Wells Fargo are nearly

identical to those raised as counterclaims and affirmative defenses to the state

foreclosure action.”), aff’d, 726 F. App'x 886, 888 (3d Cir. 2018) (non-

precedential) (holding same).


2
  To the extent the Farinas contend they were denied an opportunity in the
foreclosure action to present certain challenges because the State court held they
lacked standing to challenge the assignment of the mortgage, that lack of standing
likely was not unique to their status as defendants in the foreclosure action; it
appears they likely would lack standing as plaintiffs in district court, too. See, e.g.,
Pillitteri v. First Horizon Home Loans, No. 14-03076 (FLW), 2015 U.S. Dist.
LEXIS 22296, at *13 (D.N.J. Feb. 24, 2015) (cited by Bank of New York); but see
id. at *13-*14 (citing contrary cases). Thorough research of this question,
however, including the many unpublished New Jersey State court decisions
addressing the issue, is beyond the scope of Amicus’s appointment.


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      B.     There Probably is No Strong Federal Policy Here Against
             Piecemeal Litigation or in Favor of Abstention.
      Assuming the two cases are parallel, the Court must weigh the Colorado

River factors to determine whether the district court was correct in taking the

extraordinary step of abstaining and, thereby, failing to exercise the diversity

jurisdiction that Congress has vested in it. This Court has made clear that “the

most important factor” -- the “paramount factor” -- in determining whether to

abstain under Colorado River is the avoidance of piecemeal litigation. Ryan, 115

F.3d at 196-97 (quote marks omitted). Recognizing, however, that piecemeal

litigation is almost inevitable whenever a district court declines to abstain in the

face of parallel litigation, the Court has given more bite to this factor by insisting

that this factor weighs in favor of abstention “only when there is evidence of a

strong federal policy that all claims should be tried in the state courts.” Ryan, 115

F.3d at 198; see also id. (“there must be a strongly articulated congressional policy

against piecemeal litigation in the specific context of the case under review”).3


3
  The consequence of this requirement of a strong federal policy is that duplication
and inefficiency are never enough to justify abstention. Cf. Oral Opinion Below,
Dist. Ct. Dock., Doc. 25 at 27-30, Page ID 525-28 (State court already has
addressed these issues). This Circuit is not the only Circuit to insist on the need for
a strong federal policy in order to overcome a federal court’s unfailing obligation
to exercise its jurisdiction. See, e.g., Answers in Genesis of Ky., Inc. v. Creation
Ministries Int'l, Ltd., 556 F.3d 459, 467 (6th Cir. 2009) (need strong federal
policy); United States v. Morros, 268 F.3d 695, 707 (9th Cir. 2001) (same);
Forehand v. First Ala. Bank, 727 F.2d 1033, 1035 (11th Cir. 1984) (same); but see
Jimenez v. Rodriguez-Pagan, 597 F.3d 18, 29 (1st Cir. 2010) (“On multiple
occasions, we have found an exceptional basis that counsels in favor of abstention,
even though no particular federal policy was in play.”) (citing cases).


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      There certainly is no “strong federal policy” against the determination of

foreclosure cases in federal court. Indeed, this Court has expressly approved of the

use of diversity jurisdiction by lenders when they move in federal court to

foreclose on defaulted loans. See, e.g., Nat'l City Mortg. Co. v. Stephen, 647 F.3d

78, 82 (3d Cir. 2011) (“Although foreclosure actions are more common in state

court, the District Court had diversity jurisdiction [over foreclosure action]”); Land
Holdings (st. Thomas) v. Mega Holdings, 283 F.3d 616, 619 (3d Cir. 2002)

(affirming diversity jurisdiction over foreclosure action).

      Nor has Amicus been able to locate or identify any federal policy against

maintenance of such suits in federal court when the plaintiff and defendant are

reversed, as they are here, i.e., when the borrower sues the lender, challenging the

lender’s right to foreclose. But is there a federal policy against assertion of federal

jurisdiction in such cases, when there is a parallel case proceeding in State court?

      Although district courts within and without this Circuit often abstain when

faced with such seemingly duplicative litigation, the majority of these courts have

failed to identify a relevant federal policy (other than a general distaste for

duplicative litigation). Most don’t even try. See, e.g., Chambers v. Wells Fargo

Bank, N.A., supra, 2016 U.S. Dist. LEXIS 83580, at *14 (risk of “inconsistent

results”), aff’d, 726 F. App'x 886 (3d Cir. 2018) (non-precedential); Sheldrick v.

Wells Fargo Bank, N.A., No. 15-5332, 2015 U.S. Dist. LEXIS 115064, at *10

(D.N.J. Aug. 31, 2015) (will “cause havoc with the rulings of the state court”); see

also Bradeen v. Bank of N.Y. Mellon Tr. Co., Civ. Act. No. 18-cv-11753, 2018

U.S. Dist. LEXIS 188586, at *13 (D. Mass. Nov. 2, 2018) (“no federal policy,


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[but] clear risk of inconsistent dispositions”); Kane v. Bank of Am., Nat'l Ass'n, No.

13 C 8053, 2017 U.S. Dist. LEXIS 77726, at *3 (N.D. Ill. May 23, 2017) (danger

of inconsistent judgments); Brumfiel v. U.S. Bank, N.A., Civ. Act. No. 14-cv-2453-

WJM, 2014 U.S. Dist. LEXIS 171471, at *1 (D. Colo. Dec. 11, 2014) (duplicative

litigation); Ruffolo v. HSBC Bank USA, N.A., Civ. Act. No. 14-638 (MAS) (DEA),

2014 U.S. Dist. LEXIS 141514, at *11-12 (D.N.J. Oct. 3, 2014); Hendricks v.
Mortg. Elec. Registration Sys., No. 8:12-CV-2801-T-30TGW, 2013 U.S. Dist.

LEXIS 44620, at *8 (M.D. Fla. Mar. 28, 2013) (abstaining because two parallel

cases would risk throwing ownership of property into confusion and disarray);

J.I.K. Realty Co. v. Steward, No. 87 C 2839, 1989 U.S. Dist. LEXIS 15647, at *16

(N.D. Ill. Dec. 28, 1989) (reverse situation - borrower challenges in State court

right of bank to foreclose, bank attempts to foreclose in federal court; federal court

abstains because proceeding in both forums “would truly be wasteful”); cf.

MacIntyre v. JP Morgan Chase Bank, Civ. Act. No. 12-cv-2586-WJM-MEH, 2015

U.S. Dist. LEXIS 34220, at *10-*11 (D. Colo. Mar. 19, 2015) (expressly rejecting

Ryan and the need for a strong federal policy), aff’d without discussion, 644 F.

App'x 806, 808 (10th Cir. 2016) (non-precedential).

      In contrast, a very few district courts have searched for a relevant federal

policy and, failing to find one, have declined to abstain. See, e.g., Dowell v.

Bayview Loan Servs., LLC, No. 1:16-CV-02026, 2017 U.S. Dist. LEXIS 69149, at

*43 (M.D. Pa. May 4, 2017) (“[A]lthough abstention may result in judicial

efficiency, Wells Fargo and Bayview have not pointed to any congressional policy

against piecemeal litigation in the specific context of this case. Accordingly, the


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avoidance of piecemeal litigation does not support abstention.”); Lech v. Third

Fed. Sav. & Loan Ass'n of Cleveland, No. 2:13-cv-518, 2013 U.S. Dist. LEXIS

180626, at *13 (S.D. Ohio Dec. 27, 2013) (“no ‘clear federal policy’ against

piecemeal litigation”; court declines to abstain) (citation omitted).

      Nonetheless, Amicus submits that there are two potential federal policies

that are implicated by maintenance in federal court of a lawsuit that effectively
challenges the right of a bank to foreclose, when there is a parallel foreclosure case

proceeding in state court.4

             1.     The Anti-Injunction Act does not provide the necessary
                    strong federal policy.
      “A court of the United States may not grant an injunction to stay

proceedings in a State court except as expressly authorized by Act of Congress, or

where necessary in aid of its jurisdiction, or to protect or effectuate its judgments.”

28 U.S.C. § 2283. Although the instant case is a declaratory judgment action, with

no express request for injunctive relief, the Anti-Injunction Act is nonetheless


4
  In Beepot v. J.P. Morgan Chase Nat'l Corp. Servs., No. 3:10-cv-423-J-34TEM,
2011 U.S. Dist. LEXIS 113124, at *33 (M.D. Fla. Sep. 30, 2011), the court found a
federal policy in the fact that Congress allowed for concurrent jurisdiction over
plaintiff’s claims under the Truth in Lending Act, 15 U.S.C. § 1640(e). It is
unclear to Amicus what makes this alleged policy unique to claims under the
TILA, as opposed to virtually all litigation in the American system, so we offer no
further discussion of it. Cf. Wilson v. Bank of America, N.A., 684 Fed. App’x 897,
901 (11th Cir. 2017) (non-precedential) (rejecting concurrent jurisdiction as a
federal policy that favors abstention, though nonetheless affirming abstention
because State foreclosure proceedings were substantially more advanced than the
federal challenge to foreclosure).


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potentially relevant because, “[w]here . . .declaratory relief would produce the

same effect as an injunction, a declaratory judgment is barred if section 2283

would have prohibited an injunction.” United States Steel Corp. Plan for Emp. Ins.

Ben. v. Musisko, 885 F.2d 1170, 1175 (3d Cir. 1989). Arguably, declaratory relief

in favor of Plaintiffs here would “produce the same effect as an injunction” against

foreclosure in State court; thus, the Anti-Injunction Act is potentially implicated.
      We have located two district court decisions that find, in the Anti-Injunction

Act, the necessary strong federal policy against piecemeal litigation to justify

abstention. We submit these decisions are mistaken, but we call them to the

Court’s attention for its consideration.

      In St. Clair v. Wertzberger, 637 F. Supp. 2d 251 (D.N.J. 2009), plaintiff, in

federal court, sued the lawyers for the bank that had moved in State court to

foreclose on plaintiff’s home, claiming that the lawyers’ foreclosure tactics

violated the Fair Debt Collection Practices Act. The district court, sua sponte,

abstained under Colorado River, finding, inter alia, that exercise of federal

jurisdiction would contravene federal policy set forth in the Anti-Injunction Act. A

ruling in plaintiff’s favor, according to the Court, “would . . . effectively constitute

an injunction enjoining the state court from ordering a foreclosure sale, which is

prohibited by the Anti-Injunction Act.” Id. at 255; accord Patel v. PNC Bank,

Civil Action No. 2:15-3432 (CCC), 2016 U.S. Dist. LEXIS 10526, at *10-*12

(D.N.J. Jan. 28, 2016) (citing St. Clair).

      The problem with this reasoning is that it substantially overstates

Congressional policy.


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      If, indeed, the declaratory judgment would effectively operate as an

injunction against state foreclosure proceedings, then proceeding with the federal

case might well be barred directly by the Anti-Injunction Act, and there would be

no need to consider abstention. (The question whether the Act directly bars the

instant case is beyond the scope of this appeal and of Amicus’s appointment.5) If,

however, the Act would not strictly bar the declaratory judgment, i.e., if the intent
of Congress was not to include actions like the instant one within the scope of the

Act, then it would go beyond the intent of Congress to say that, even though

Congress chose not to include this particular case within the scope of the Act, we

nonetheless conclude that Congressional policy strongly disfavors such cases.

Rather than applying a strong Congressional policy, it would show great disrespect

to Congressional intent to construe that intent to extend to areas to which Congress

chose not to venture in the statute itself.

      Amicus submits that the Anti-Injunction Act does, indeed, express a

Congressional policy, but the scope of that policy is set forth in the Act itself.

Either Congress chose to bar this action (a question that is not presented by this

appeal), or Congress chose not to bar this action. If the latter, it makes no sense to

nonetheless find in the Act a Congressional policy that effectively bars the action.



5
  For a discussion of the direct applicability of the Anti-Injunction Act in cases
similar to the instant case, see Hernandez v. Fannie Mae, No. 2:14-7950 (WJM),
2015 U.S. Dist. LEXIS 67476, at *8 (D.N.J. May 26, 2015); Borkon v. First Union
Nat'l Bank, Civ. Act. No. 00-2850, 2001 U.S. Dist. LEXIS 13937, at *11-*12
(E.D. Pa. Sep. 7, 2001), aff’d, 47 F. App'x 177 (3d Cir. 2002) (non-precedential).


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             2.     Congressional removal policy probably does not provide the
                    necessary strong federal policy.
      Plaintiffs are residents of New Jersey. A11, Complaint ¶ 1. Therefore, as

residents of the forum State, Plaintiffs would be precluded from removing the

Bank of New York’s foreclosure action filed in New Jersey Superior Court. See 28

U.S.C. § 1441(b)(2) (“A civil action otherwise removable solely on the basis of the

jurisdiction under section 1332(a) of this title [(diversity)] may not be removed if

any of the parties in interest properly joined and served as defendants is a citizen of

the State in which such action is brought.”). Assuming the claims raised in the

instant case were or could have been raised as defenses to the State foreclosure

action, Plaintiffs arguably have evaded the intent of the removal bar by bringing

those State court defenses as plaintiffs in this direct, federal action.

      It reasonably could be argued that Congress intended that defenses available

to State court defendants must be litigated in State court when those defendants are

residents of the forum State; and, thus, to allow those defendants to make an end-

run around the removal bar by bringing a separate federal action contravenes

Congressional intent. Amicus submits that this argument “proves too much” and
should be rejected, but there is no doubt that several district court decisions have

adopted this reasoning and it cannot be discarded out of hand.

      Judge Feinerman of the Northern District of Illinois has applied this

reasoning in the foreclosure context on at least three occasions. See Rodriguez v.

Anselmo, Lindberg & Assocs., LLC, No. 19 C 271, 2019 U.S. Dist. LEXIS 150646,

at *16-17 (N.D. Ill. Sep. 4, 2019); Freed v. Friedman, 215 F. Supp. 3d 642, 657



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(N.D. Ill. 2016); Knight v. DJK Real Estate Grp., Inc., No. 15 C 5960, 2015 U.S.

Dist. LEXIS 172029, at *23-24 (N.D. Ill. Dec. 28, 2015).

      Relying on Day v. Union Mines, Inc., 862 F.2d 652 (7th Cir. 1988), which

provides that, in the Seventh Circuit, the availability of removal is one factor to be

considered in a Colorado River analysis, Judge Feinerman holds that “[t]his factor

recognizes a policy against a federal court's hearing claims that are closely related
to non-removable state proceedings.” Freed, 215 F. Supp.3d at 657. Because the

federal plaintiff in each of these cases was a resident of the State in which the

foreclosure proceedings were being litigated, those foreclosure proceedings were

not removable by the federal plaintiff (defendant in the foreclosure proceedings)

and, therefore, to allow the State court defendant to avoid that removal bar by

bringing a separate federal action would contravene federal policy, which favors

keeping these cases in State court. See, e.g., Rodriguez, supra, at *16-*17.

                a. Congressional removal policy is too broad and malleable.
      The problem with this reasoning, we submit, is evidenced by the Seventh

Circuit’s decision in Day, which actually set forth two separate rules arising out of
federal removal policy.

      On the one hand, the Court there held that a party who had the opportunity

to remove a case to federal court, but chose to forego that opportunity, could not

later bring a separate, parallel, federal action. Day, 862 F.2d at 660 (citing

Microsoftware Comput. Sys., Inc. v. Ontel Corp., 686 F.2d 531 (7th Cir. 1982)).

The Court suggested that, to allow that separate action to proceed would

contravene federal policy, which provides a specific means by which that party

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could get its claim heard in federal court -- removal. Allowance of a separate

federal claim brought initially in federal court would countenance an end-run

around the Congressionally-mandated route for getting the case into federal court.

Id. Indeed, the court was faced with piecemeal litigation only because the

foreclosure defendant failed to avail itself of its right to remove the entire action.

      On the other hand, the Court also held that a party who was precluded by
federal removal policy from removing a case -- because the parties there lacked

complete diversity -- could not make an end run around that removal bar by

dropping the non-diverse party in a new action brought directly in federal court.

Id. In other words, the federal policy allowing removal in the first example, and

the federal policy precluding removal in the second example, each constituted a

factor in favor of abstention.

      But to find that federal removal rules evince a Congressional policy in favor

of abstention in a particular case -- regardless whether those rules allow removal

under the facts, or preclude removal under the facts -- does not constitute a genuine

search for the exceptional case or for a unique federal policy; rather, it swallows

the rule wholesale, finding a federal policy in favor of abstention almost routinely.

      A thoughtful discussion of the issue by Judge Warren, in Johnson Controls,

Inc. v. Am. Motorists Ins. Co., 719 F. Supp. 1459 (E.D. Wis. 1989), puts this

Catch-22 on full display, although Judge Warren probably does not see it that way.

      On the one hand, Judge Warren writes that the availability of removal to a

State court defendant weighs in favor of abstention when that State court defendant

chooses instead to bring a separate federal action based on the same State court


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controversy; the State court defendant should “use the more efficient and

convenient method of removal,” rather than manufacturing duplicative litigation.

Id. at 1467. On the other hand, Judge Warren writes that the non-availability of

removal often will also weigh in favor of abstention, as “it is not difficult to

identify a policy judgment in the restrictions on removal that might counterbalance

the obligation to exercise jurisdiction.” Id. For example, Judge Warren explains,
if the restriction on removal is based on a Congressional “judgment that the state

forum is adequate,” then abstention in the federal case would further this

Congressional purpose. Id. at 1468.

      The law review note upon which Judge Warren relies cites no shortage of

examples of when non-removability reflects a Congressional judgment that the

state forum is adequate and federal litigation should be stayed. See Note, Federal

Court Stays and Dismissals in Deference to Parallel State Court Proceedings: The

Impact of Colorado River, 44 U. Chi. L. Rev. 641, 668 (1977) (defendant cannot

remove based on a federal defense, so shouldn’t be allowed to bring a federal

action based on that same defense); id. (defendant cannot remove in the absence of

complete diversity, so shouldn’t be allowed to bring a federal action by simply

dropping the non-diverse party from the federal suit); id. (home state defendant

cannot remove, so shouldn’t be allowed to bring a federal action based on

diversity; Congress has determined that the State forum is fully adequate to protect

defendant’s rights). But if the policy against, or in favor of, removal can so easily

be construed to reflect a Congressional intent to keep almost any parallel litigation

out of federal court, then there is no clear boundary to this alleged policy; and


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almost any parallel litigation will provoke an abstention ruling. But that is

contrary to the clear mandate that abstention must be the extraordinary exception,

not the rule.

      Admittedly, in Johnson Controls, Judge Warren found that the particular

bar to removal in that case -- lack of complete diversity -- did not reflect a federal

policy that the underlying claims ought to be litigated exclusively in State court.
719 F. Supp. at 1468. But the fact that there may still be some cases in which non-

removability does not tilt the balance in favor of abstention does not undercut the

central lesson that is presented by this line of cases -- if a rule in favor of removal,

and a rule against removal, can each evince a federal policy in favor of abstention,

then the search for a policy largely becomes a search for an excuse to abstain; and

such an approach cannot be reconciled with Colorado River or Ryan.

      Moreover, the malleability of inferring a federal policy in favor of abstention

from the removability, vel non, of the underlying State court action is demonstrated

by Johnson Controls itself. There, Judge Warren found that the federal plaintiff’s

evasion of non-removability by dropping the non-diverse party from the federal

suit did not contravene an important federal policy in favor of the State forum and,

thus, did not tilt the scale in favor of abstention. 719 F. Supp. at 1468.6 Yet it

appears that in Day, upon which Judge Warren heavily relies, the Seventh Circuit


6
       Interestingly, Judge Warren is being exceedingly honest here as to his
perspective, and is not placing a thumb on the scale to reach a desired result, as
Judge Warren ultimately finds enough other Colorado River factors satisfied to
hold that abstention is nonetheless warranted. 719 F. Supp. at 1469.


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found precisely to the contrary, holding that the same policy that precluded the

federal plaintiffs from removing the underlying State court action -- lack of

complete diversity -- precludes those federal plaintiffs from invoking federal

jurisdiction over the same claims by simply dropping the non-diverse party from

the case. See Day, 862 F.2d at 660; see also id. at 655 (“Diversity exists in Indiana

only because Bicknell has been dropped as a defendant.”).7 See also Fid. Fed.
Bank v. Larken Motel Co., 764 F. Supp. 1014, 1018 (E.D. Pa. 1991) (“This Court

will not permit a litigant to circumvent the federal policy which prohibits removal

of non-diverse state law cases by dropping the non-diverse party in the federal

action, thereby preventing either court from adjudicating all claims between the

parties, when the filing of a counterclaim in the state court action would permit the

state court to adjudicate all claims between the parties.”).

      Amicus submits that a federal policy that is sufficiently malleable that it can

be found to justify abstention in so many different factual contexts cannot

constitute the necessary federal policy to justify the extraordinary remedy of

abstention. Compare Allied Mach. Servs. v. Caterpillar, Inc., 841 F. Supp. 406,

408, 410 (S.D. Fla. 1993) (federal policy against removal by plaintiffs precludes

7
       Judge Warren appears to have inadvertently mis-quoted Day on this point,
completely reversing the intent of the Day holding. Compare Day, 862 F.2d at 660
(“We would be defying the policies behind the requirement of complete diversity
and the Section 1441 rule for removal by now granting the Shareholders a right to
a federal forum . . . .”) (emphasis added), with Johnson Controls, 719 F. Supp. at
1467-68 (“it ‘would be defying the policies behind the requirement of complete
diversity and the Section 1441 rule for removal by not granting the Shareholders a
right to a federal forum . . . .’”), quoting Day, 862 F2d at 660 (emphasis supplied).


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plaintiff from filing duplicative federal action); with BIL Mgmt. Corp. v. N.J. Econ.

Dev. Auth., 310 F. App'x 490, 492 n.1 (3d Cir. 2008) (non-precedential) (“section

1441, which prevents a plaintiff from removing an action to federal court, does not

prevent refiling of the same or a similar action in federal court”).

                b. The forum resident rule is not intended to provide a
                   substantive protection.
      Of course, we do recognize that, in the appropriate context, a federal rule of

non-removability can counsel against maintenance of a federal action filed in

contravention of the policy behind the rule. Thus, in Ingersoll-Rand Fin. Corp. v.

Callison, 844 F.2d 133, 137 (3d Cir. 1988), this Court held that Congress’s express

prohibition against removal of claims under the Securities Act of 1933, see 15

U.S.C. § 77v(a), weighed heavily against allowing a State court defendant in a

Securities Act case to assert in federal court a claim that readily could have been

brought as a counterclaim in the State court action. “The mandate of § 77v cannot

be effectuated if the plaintiff in a securities case brought in state court may be

thwarted in his choice of forum by being forced to litigate simultaneously his

claims as defenses in federal court.” Ingersoll-Rand, 844 F.2d at 137.8

8
 La Duke v. Burlington N. R. Co., 879 F.2d 1556, 1561 (7th Cir. 1989), and
Rambaran v. Park Square Enters., No. 6:08-cv-247-Orl-19GJK, 2008 U.S. Dist.
LEXIS 71538, at *23-*24 (M.D. Fla. Sep. 22, 2008), similarly rely on a statutory
prohibition on removal of particular federal claims, under, respectively, the Federal
Employers’ Liability Act and the Interstate Land Sales Full Disclosure Act. These
cases are not on point, however, because they involved plaintiffs who brought
virtually identical suits in both State and federal court; there was no concern about
defendants making an end-run around the bar against removal.


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      Amicus submits that the existence of a federal rule against removal with

respect to a particular, specific, substantive class of cases is different in kind, not to

mention degree, from the federal rules against removal set forth in Section 1441.

      Congress has clearly evinced a preference that plaintiffs’ choice of forum in

Securities Act cases should prevail, just as Congress evinced a similar preference

for State courts with respect to water rights cases, see Colorado River. Allowing a
defendant to avoid a plaintiff’s choice of a State court forum, by bringing a parallel

federal action, does a great disservice to this Congressional preference. That

preference, however, is narrow and focused -- Securities Act cases, water rights

cases. The preference under Section 1441, in contrast, is broad and diffuse (as well

as malleable, as discussed, supra). It covers all diversity cases, no matter the

substantive issue. It is based on the procedural posture and venue of a case, not on

the substantive matters at issue in the case.

      Moreover, the evident purpose of the anti-removal provision of the

Securities Act is to protect small investors. Although Amicus could not locate,

after due diligence, any caselaw on the purpose of the rule, it seems likely that

Congress did not want to allow large, investor-owned companies to intimidate

small investor plaintiffs by haling them into federal court, a forum perceived by

many such investors as more complex and more expensive than State court. Thus

the anti-removal provision of the Securities Act provides affirmative protection to

a class of plaintiffs deemed in need.

      Contrast this with the forum State rule, which recognizes the lack of need for

removal by State court defendants, who are unlikely to suffer bias in their home-


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state court. The rule is not designed to provide anyone with affirmative protection;

nor is it designed to prevent something that Congress saw as harmful to a particular

class of litigants. Rather, the rule simply reflects Congress’s recognition that

removal isn’t needed. Prohibiting removal because it is affirmatively harmful

implicates very different concerns than merely prohibiting removal simply because

it isn’t necessary. An end-run around the former undermines the very scheme of
the Securities Act, which is designed to protect small investors. An end-run

around the latter does not undermine any overarching scheme; indeed, the diversity

statute, as a general matter, allows in-State plaintiffs to invoke federal court

jurisdiction. Had Congress found this procedural posture to be affirmatively bad,

it would have prohibited it. Having failed to do so, there is no over-arching

Congressional policy that is served by a court-manufactured rule against such a

jurisdictional invocation.

      To hold that the rule against removal by forum state defendants counsels in

favor of abstention whenever a forum State defendant brings a parallel federal

action would open the door to an endless parade of malleable inferences to be

drawn from the removal statutes, whenever a federal court finds the inefficiency

and duplication of parallel litigation overly frustrating. We submit it is difficult to

read Section 1441 to evince such a sweeping policy, not to mention that it would

contravene the “virtually unflagging obligation of the federal courts to exercise the

jurisdiction given them.” Ryan, 115 F.3d at 198 (quoting Colorado River).




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      C.     The Other Colorado River Factors Likely Do Not Swing the Scales
             Toward Abstention.
      This Court’s most recent recitation and application of the Colorado River

factors can be found in Nationwide Mut. Fire Ins. Co. v. George V. Hamilton, Inc.,

571 F.3d 299, 308-09 (3d Cir. 2009). See also Nat'l City Mortg., 647 F.3d at 83-84

(holding no abstention under Colorado River). Not only are these other factors of

far less significance than the “federal policy” / piecemeal litigation factor, several

matter only if they weigh against abstention. See, e.g., Nationwide, 571 F.3d at

308 (state court’s ability to protect the parties’ interests is only relevant when state

court provides inadequate protection); Ryan, 115 F.3d at 199 (presence of garden

variety state or federal issues is only relevant when federal issues are present).

      Thus, it would appear next to impossible to find abstention appropriate in the

absence of a strong federal policy against piecemeal litigation; and it likely is the

rare case that would find abstention inappropriate in the face of a strong federal

policy against piecemeal litigation. The presence, vel non, of a strong federal

policy likely is dispositive in almost every abstention analysis under Colorado

River. Amicus, therefore, will address the remaining factors only briefly. None of
them presents anything out of the ordinary in this run-of-the-mill diversity action

where there is parallel litigation proceeding in State court.

      1. The New Jersey court was the first court to assume in rem jurisdiction

over the Farinas’ property. This factor weighs slightly in favor of abstention.

      2. The property and the Farinas themselves are located in Toms River, N.J.,

approximately 13 minutes from the New Jersey Superior Courthouse in Ocean



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County. The property is approximately one hour from the federal district court in

Trenton. Source: Google Maps. This does not appear to be a material difference.9

      3. Piecemeal litigation. Covered, supra.

      4. The foreclosure court obtained jurisdiction first. This factor weighs

slightly in favor of abstention.

      5. The matter is based in State law. This factor weighs slightly in favor of
State court and, therefore, is neutral. See Ryan, 115 F.3d at 199. (The Farinas’

counsel below suggested that the Farinas are also raising a Truth in Lending Act

claim, see A54-A60 (Tr. at 9-15), but the claim does not appear in the Complaint,

A11, or in a proposed Amended Complaint. See Dist. Ct. Docket, Doc. 19-1 at 3,

Page ID 482.)

      6. We know of no reason why the State court, including the State appellate

courts, cannot adequately protect the parties’ interests. This factor weighs slightly

in favor of State court and, therefore, is neutral.

      Summing up, the non-paramount factors tilt ever-so-slightly in favor of

abstention. As noted, though, it is difficult to see how this could outweigh the

Court’s determination on factor three -- piecemeal litigation -- as informed by the

existence, vel non, of a strong federal policy.




9
  It is not clear to Amicus whether convenience to defendants is relevant under this
factor. Neither Trenton nor Ocean County would appear to be particularly
convenient to Defendants, as Defendants all are residents of States other than New
Jersey. Trenton, though, as a major transportation hub, likely is somewhat more
convenient. This would slightly favor federal court and, therefore, non-abstention.

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      D.     The Courts Have Other Methods at Their Disposal to Avoid
             Inefficiency, Without the Need to Stretch Colorado River
             Abstention Beyond its Intended, Exceptionally Narrow Borders.
      We do not brief its applicability here, but we note that many of the concerns

expressed by both the district court here and by other district courts faced with

similar cases might find better outlet in the discretion afforded to district courts

under the Declaratory Judgment Act. See generally Brillhart v. Excess Ins. Co. of
Am., 316 U.S. 491 (1942); Kelly v. Maxum Specialty Ins. Grp., 868 F.3d 274, 282

(3d Cir. 2017) (applying Brillhart); State Auto Ins. Cos. v. Summy, 234 F.3d 131,

134 (3d Cir. 2000) (Brillhart survives Colorado River, and continues to give

district courts substantial discretion to decline to exercise jurisdiction over

duplicative declaratory judgment action in diversity context); see also Tom v.

GMAC Mortg., LLC, No. 10-00653 SOM/BMK, 2011 U.S. Dist. LEXIS 56825, at

*16 (D. Haw. May 25, 2011) (“Whether GMAC Mortgage or Homecoming

Financial owns the loan is a matter that should be decided by the state court in the

foreclosure proceeding, not via a declaratory judgment claim in this court. See

Brillhart, 316 U.S. at 495.”), aff'd, 588 F. App'x 671, 671 (9th Cir. 2014) (non-

precedential) (same).



Dated: September 29, 2020                Respectfully submitted,



                                         ____/s/ Richard Feder_______________
                                         Richard Feder
                                         Richard Feder, J.D.
                                         Appointed Amicus


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                              Combined Certifications

       1. I certify that I am a member in good standing of the bar of the United
States Court of Appeals for the Third Circuit.

       2. I certify that the electronically-filed pdf and the paper copy of the brief
filed with the Court are identical.

     3. I certify that the electronic-filed pdf was scanned by Malwarebytes for
Mac 4.5.14 and no viruses were detected.
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      4. I certify that I caused today to have the foregoing Brief for Amicus
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Dated: September 29, 2020              Respectfully submitted,



                                       ____/s/ Richard Feder_______________
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